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IN THE UNITED sTATEs DIsTRICT CoURT
FoR THE WESTERN DISTRICT oF TENNESSEE 05 JUL l 9 AH 8= 36

 

 

WESTERN DIVISION
THQAM$ GOULD
CLEP.K,H
DEsIREE L_ RAMSEY and ) W/D f‘o'=`
JAMES F. RAMSEY, )
)
Plaintiffs, ) No. 04-251 l
)
v. ) Breen / Pham
)
FORD MOTOR COMPANY, )
)
Defendant. )

 

'H§‘RDPGSW‘[ THIRD AMENDED SCHEDULING OR])ER

 

The parties having come before this Court to amend the Seheduling Order, and good
cause for an extension of the discovery period having been shown, the Scheduling Order is
amended as follows:

COMPLETING ALL DISCOVERY: September ]9, 2005

(a) DOCUMENT PRODUCT}ON: September 19, 2005

(b) DEPOSITIONS, INTERROGATORIES, AND REQUESTS FOR
ADMISSIONS: September 19, 2005

(c) EXPERT WITNEss DIsCLosURE (Rule 26);

(l) DISCLOSURE OF PLAINTIFFS’ RULE 26 EXPERT

INFORMATION: August 20, 2005
(2) DISCLOSURE OF DEFENDANT’S RULE 26 EXPERT
lNFORMATION: September 19, 2005
(3) EXPERT WITNESS DEPOSIT]ONS:
Plaintiffs’ Experts: September 19, 2005
Defendant’s Experts: October 18, 2005
FILING DISPOSITIVE MOTIONS: November 18, 2005

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OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery cutoff date. All motions,
requests for admissions, or other filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to respond by the time permitted
by the Rules prior to that date.

l\/lotions to compel discovery are to be filed and served by the discovery deadline or
Within 30 days of the default or the service of the response, answer, or obj ection, which is the
subject of the motion, if the default occurs Within 30 days of the discovery deadline, unless the
time for filing of such motion is extended for good cause shown, or the objection to the default,
response, answer or objection shall be waived.

This case is set for a jury trial. The pretrial order date, pretrial conference date, and trial
date will be set by the presiding judge. The trial is expected to last 3 to 4 days.

This case is appropriate for ADR. The parties are directed to engage in court-annexed
attorney mediation or private mediation after the close of discovery.

The parties are reminded that pursuant to Local Rule ll(a)(l)(A), all motions, except
motions pursuant to Fed. R. Civ. P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, without leave of the court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for Which a reply is required

At this time, the parties have not given consideration to whether they wish to consent to
trial before the magistrate judge. The parties will file a Written consent form with the court
should they decide to proceed before the magistrate judge.

This Order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this order will not be modified or
extended

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APPROVED FOR ENTRY:

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July 19, 2005 to the parties listed

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Notice of Distribution

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case 2:04-CV-02511 was distributed by fax, mail, or direct printing on

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140 Adams Ave.

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Honorable .1. Breen
US DISTRICT COURT

